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February 14, 2025

The Honorable Theodore D. Chuang, U.S. District Judge
6500 Cherrywood Lane, Suite 245
Greenbelt, MD 20770
(301) 344-3982

​      Re: ​   Plaintiffs’ Notice of Intent to Seek Emergency Preliminary Relief in Doe v.
               Musk, 25-CV-00462

Dear Judge Chuang,

The undersigned counsel submit this letter pursuant to your Honor’s Case Management Order,
ECF No. 6. We respectfully seek leave to file and brief a motion for emergency preliminary relief
as soon as practicable due to the irreparable harm Plaintiffs have suffered and continue to suffer
as a result of Defendants’ unconstitutional conduct. In light of the weighty constitutional issues
and rapidly developing situation, Plaintiffs respectfully ask the court to forgo a pre-motion
conference and to enter a briefing and hearing schedule, with a proposed schedule offered below,
or in the alternative to hold a conference at the earliest possible date.

    ●​ Tuesday, Feb. 18: Plaintiffs’ Motion for Temporary Restraining Order
    ●​ Thursday, Feb. 20: Defendants’ Response to Motion for Temporary Restraining Order
    ●​ Friday, Feb. 21: Plaintiffs’ Reply to Defendants’ Response
    ●​ Friday, Feb. 21 or as soon as practicable thereafter: Hearing on Temporary
       Restraining Order at the Court’s earliest convenience

Earlier today, Plaintiffs provided the initial court filings in this case to Defendants’ counsel and
had an initial conversation with Defendants regarding the prospect of timing for preliminary
relief and potential expedited discovery in advance of a hearing. Defendants’ counsel had not
had an opportunity to review the papers and felt they had insufficient information to agree to a
timeline.

                           Nature of the Case and Requested Motion
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Plaintiffs J. Does 1-26 are current and recently former employees and contractors of the U.S.
Agency for International Development (“USAID”), who have sought leave by this Court to
proceed under pseudonyms because the release of their names would expose them to significant
risks. See ECF No. 3. Plaintiffs brought the above-captioned case against Elon Musk, in his
official capacity, as well as against the United States DOGE Service and the Department of
Government Efficiency (collectively “DOGE”) for violations of the Constitution’s Appointments
Clause and guarantee of Separation of Powers.

By unilaterally directing DOGE subordinates to override internal controls at agencies such as
USAID and the Treasury Department, Defendant Musk has created a shadow chain of command
that circumvents the checks and balances integral to our federal system. He has assumed
extraordinary and unilateral control over multiple federal agencies—commandeering critical
systems, terminating access to sensitive data, and directing the shutdown of essential agency
operations—all without undergoing the mandatory Senate-confirmed appointment process. The
Appointments Clause of Article II Section 2 unequivocally requires that any individual
exercising such “significant authority” as a principal officer be nominated by the President and
confirmed by the Senate. Defendant Musk has neither been nominated nor confirmed.

Further, DOGE has effectively usurped legislative prerogatives and undermined the system of
checks and balances. Defendants’ actions—which include the unlawful obstruction of
congressionally appropriated funds, interference with statutorily mandated agency functions, and
a general disdain for the carefully crafted legislative requirements that govern access to every
American’s most sensitive data—infringe upon Congress’s exclusive domain. This overreach
subverts the constitutional distribution of power, consolidating authority in the hands of an
individual who is neither elected by the people nor confirmed by the Senate. Hour-by-hour,
Defendants are annihilating the Separation of Powers principles that have been the bedrock of
the nation since its inception.

Plaintiffs have had their lives upended as a result of the actions undertaken by Defendants Musk
and DOGE. See ECF No. 4, Compl. ¶¶ 3(a)-(j) & 56(a)-(f). Upon information and belief,
Defendants still have full access to the digital infrastructure of Plaintiffs’ agency, causing
continued disruptions and maintaining access to Plaintiffs’ (sometimes highly sensitive)
personnel files. Moreover, the reckless disregard with which Defendants have exercised their
unconstitutional authority has unlawfully disrupted contracts of the United States—some of
which are signed by individual Plaintiffs and pose liability to them. Finally, Defendants have
repeatedly publicly besmirched the good names of Plaintiffs and other loyal civil servants in
order to justify their unconstitutional power grab—causing extraordinary, ongoing and
irreparable reputational injury to Plaintiffs that will threaten their ability to obtain future
employment.




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Given the substantial likelihood of success on the merits and the immediate, irreparable injury
that Plaintiffs continue to suffer, Plaintiffs intend to file a motion seeking emergency preliminary
relief to expeditiously enjoin Defendants from further exercising their unconstitutional authority.
Plaintiffs respectfully request the Court to set an expedited briefing schedule consistent with the
one set out above, or, in the alternative, to schedule a pre-motion conference at the earliest
possible time. ​
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Respectfully submitted,

/s/ Norman L. Eisen​
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**Application for admission pro hac vice pending




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